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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

HERBERT LARRIMORE,                             )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )      No. 1:12-cv-02182-MJG
                                               )
ALPHA RECOVERY CORP.,                          )
                                               )
       Defendant.                              )

                                   NOTICE OF SETTLEMENT

       NOW COMES Plaintiff, HERBERT LARRIMORE (“Plaintiff”), by and through the

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 90 days.

       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.

DATED: August 20, 2012                     RESPECTFULLY SUBMITTED,


                                      By: /s/ Fredrick Nix
                                      Fredrick Nix
                                      Law Office of Fredrick E. Nix
                                      240 S Potomac Street
                                      Hagerstown, MD 21740
                                      Tel: 888-221-6685
                                      E-mail: frederick.nix@attorneynix.com




                                    NOTICE OF SETTLEMENT                                      1
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2012, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

mailed to defendant at the below address.

Kevin J. Farrell
Farrell Law Office, LLC
1582 So. Parker Rd., Suite 209
Denver, CO 80231

                                                     By:    /s/ Fredrick Nix
                                                     Fredrick Nix
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                                  NOTICE OF SETTLEMENT                                            2
